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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11     DR. GREENS, INC., a California                    Case No.: 11cv0638 JAH (KSC)
       corporation,
12
                                        Plaintiff,       ORDER GRANTING SPECTRUM
13                                                       LABORATORIES, LLC’S MOTION
       v.                                                FOR ENTRY OF FINAL
14
                                                         JUDGMENT ON SEPARATE
       JAMES MATTHEW STEPHENS, an
15                                                       DOCUMENT [Doc. No. 363]
       individual, and SPECTRUM
16     LABORATORIES, LLC, an Ohio limited
       liability company,
17
                                     Defendant.
18
19
20          Spectrum Laboratories, LLC (“Spectrum”) moved for Entry of Final Judgment on
21    Separate Document. See Doc. No. 363. Dr. Greens, Inc. and Matthew Green filed a non-
22    opposition to the issuance of the Proposed Order. See Doc. No. 365.
23          Based on the foregoing, IT IS HEREBY ORDERED:
24          1. Spectrum’s request for enhanced damages in the amount of $2,595,519 is
25             GRANTED;
26          2. Spectrum’s request for attorneys’ fees under 35 U.S.C. § 285 is GRANTED in
27             the amount of $890,614.38; and
28

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                                                                                   11cv0638 JAH (KSC)
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 1          3. Spectrum’s request for prejudgment interest in the amount of $318,283 is
 2             GRANTED.
 3          The Clerk of Court shall amend the judgment [Doc. No. 341] accordingly.
 4          IT IS SO ORDERED.
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 6    DATED:     November 24, 2020
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 8                                                 _________________________________
                                                   JOHN A. HOUSTON
 9
                                                   UNITED STATES DISTRICT JUDGE
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